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 ary
 101-7-TFR
 3 Services
                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF SOUTH CAROLINA
                                                               COLUMBIA DIVISION


                In Re:                                                                          §
                                                                                                §
                Dozier Financial, Inc.                                                          §           Case No. 14-04262-HB
                                                                                                §
                                                              Debtor                            §

                                                     INTERIM TRUSTEE’S FINAL REPORT (TFR)

                           The undersigned trustee hereby makes this Final Report and states as follows:

                       1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                07/29/2014. The undersigned trustee was appointed on 02/18/2015.

                           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                        3. All scheduled and known assets of the estate have been reduced to cash, released to
                the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                disposition of all property of the estate is attached as Exhibit A.

                           4. The trustee realized gross receipts of                                             $          2,229,405.78

                                                  Funds were disbursed in the following amounts:

                                                  Payments made under an interim                                                         0.00
                                                  disbursement
                                                  Administrative expenses                                                   1,359,111.31
                                                  Bank service fees                                                             8,685.35
                                                  Other payments to creditors                                                 447,797.91
                                                  Non-estate funds paid to 3rd Parties                                              0.00
                                                  Exemptions paid to the debtor                                                     0.00
                                                  Other payments to the debtor                                                      0.00
                                                                                            1
                                                  Leaving a balance on hand of                                   $             413,811.21

                 The remaining funds are available for distribution.
          ____________________
                     1
                        The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
          will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
          maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.
              6. The initial deadline for filing non-governmental claims in this case was12/18/2014 and the
       deadline for filing governmental claims was 02/24/2015 . On 1/25/2017, the Court entered its
       Order (Docket #95) setting a new deadline for filing non-governmental claims in this case to
       4/27/2017 and the deadline for filing governmental claims to 4/27/2017 for certain omitted
       scheduled creditors. All claims of each class which will receive a distribution have been
       examined and any objections to the allowance of claims have been resolved. If applicable, a
       claims analysis, explaining why payment on any claim is not being made, is attached as
       Exhibit C.
                 7. The Trustee’s proposed distribution is attached as Exhibit D.

            8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $89,232.17. To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.
              The trustee has received $45,554.71 as interim compensation and now requests a sum of
      $43,677.46, for a total compensation of $ 89,232.172. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $6,712.41, and now
      requests reimbursement for expenses of $1,110.85, for total expenses of $7,823.262.



             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.
      Date: 01/07/2021                                     By:/s/Janet B. Haigler
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES
                                                                                                                                                                                                         Exhibit A
Case No:               14-04262                           HB            Judge:        Helen Elizabeth Burris                      Trustee Name:                      Janet B. Haigler
Case Name:             Dozier Financial, Inc.                                                                                     Date Filed (f) or Converted (c):   07/29/2014 (f)
                                                                                                                                  341(a) Meeting Date:               10/03/2014
For Period Ending:     01/07/2021                                                                                                 Claims Bar Date:                   12/18/2014


                                    1                                                2                            3                            4                          5                             6

                         Asset Description                                         Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                            Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                   Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                              Assets
                                                                                                           and Other Costs)

  1. Checking Bank Of America                                                                  200.00                   200.00                                                  1,405.78                           FA
  2. Customer Auto Loans (Subject To Liens)                                          10,518,688.65               10,518,688.65                                                        0.00                         FA
  3. 2 Desks, Chairs, And Credenzas-$1,000 10 Office Chairs -                              1,800.00                   1,800.00                                                        0.00                         FA
     $25
  4. Accounting Software                                                                  Unknown                          0.00                                                       0.00                         FA
  5. 6 Computers                                                                           1,200.00                   1,200.00                                                        0.00                         FA
  6. 50 Gps Units (Located On Vehicles That Have Been Sold)                                1,250.00                   1,250.00                                                        0.00                         FA
  7. Possible litigation against lienholder(s) for pre petition a (u)                            0.00             9,102,029.86                                                960,000.00                           FA
  8. Possible litigation against professionals (u)                                               0.00             1,360,000.00                                             1,268,000.00                      92,000.00
  9. Possible litigation against insiders (u)                                                    0.00                      1.00                                                       0.00                         FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                 $10,523,138.65              $20,985,169.51                                            $2,229,405.78                     $92,000.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  1/7/2021:
  The second interim final report has been submitted to the Columbia UST Office. Trustee is continuing to collect the remaining settlement funds due from Dozier and Sequence.
  The 2020 tax returns are being prepared by the accountant.

  12/31/2020:
  Trustee is to received the first installment payment as part of the settlement agreement from Sequence as of January 15, 2021. Dozier is continuing to make installment
  payments. Trustee is preparing a second interim final report. The final report cannot be filed until after the last installment payment is received in July 2021.

  10/12/2020:
  Order Authorizing Settlement has been entered. Two defendants are paying settlement in installments with last payment due in July 15, 2020. Trustee will prepare Second
  Interim disbursement to creditors upon receipt of proceeds from defendants not paying by installment. Final tax returns are being prepared.

  8/24/2020:
  Settlement of litigation against professionals has been settled and settlement notice and agreement are being drafted. Accountant is reviewing for tax return. Professional fees

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associated with retained experts have been requested.
                                                                                    Document      Page 4 of 40
6/29/2020:
Litigation against the professionals has continued. Mediation was held on 6/29/2020 in attempt to resolve the litigation. Settlement was not reached. Discovery to continue with          Exhibit A
last few depositions to be scheduled and then summary Judgment motions to be filed.

12/31/2019:
Litigation regarding Asset #8 continues before the S.C. District Court. At the request of the Defendants the discovery period was extended. The Trustee's litigation against the
professionals is in the discovery stage which should conclude March 2020. Trustee's counsel has filed a Motion for Summary Judgment as to one issue which motion is
pending. Trustee estimates that the matter will go to trial in 2020. Once this litigation is concluded the TFR can be filed.

6/28/2019:
The litigation against the professionals is before the SC District Court. The parties are working under a discovery order with deadline concluding in October 2019. All interim
disbursement checks have cleared the bank account.

3/14/2019:
Trustee's Interim Report was filed with the Court.

2/13/2019:
Trustee's litigation against professionals continues. Discovery is being completed. Pending motions before District Court for withdrawal of reference. All claims resolved.
Interim Disbursement can be filed.

12/31/2018:
Defendants sought dismissal and/or removal of litigation to Texas which was denied. Trustee is operating under Bankruptcy Court's Discovery Order with discovery deadline of
5/2019 Defendants are seeking withdrawal of reference so matter will be heard by District Court. Order pending. Trustee has completed objections to claims. Waiting for order
on objection to Investor Claims. Trustee is preparing for Interim Disbursement to creditors.

6/29/2018:
Settlement reached regarding ACA litigation whereby the estate received $960,000. See Order entered on 3/15/2018 (Docket #130). Trustee continues litigation in adversary
proceeding 17-80113-hb.

12/31/2017:
Second Mediation held on Securities Litigation. Matter did not settle. Getting updated affidavits from experts. On 12/27/2017, Counsel filed Complaint against several
professionals in Securities Litigation, Adv. Proc. No. 17-80113. Answers from Defendants pending. New counsel was hired by Defendant in the ACA litigation. An informal
mediation with new counsel was held on 11/15/2017. Parties continue to share information and may reconvene in a few weeks. Otherwise, parties continue to operate under
discovery order in ACA litigation.

6/30/2017:
Mediation held for Securities Litigation on 1/10/2017. Matter did not settle. Parties agreed to share additional information and hold 2nd mediation at latter date. Litigation
continues in action against ACA.

12/30/2016:
Trustee held an informal meeting with ACA regarding possible settlement of estate's claim. A Tolling Agreement was obtained from ACA while settlement was discussed. The
matter was not resolved at the meeting. A Mediator was appointed and the parties, along with the bankruptcy Trustee in the related Craig's Used Cars case, attended the
mediation on 11/16/2016. Despite efforts of the parties, the matter did not settled. Special Counsel filed an Adversary Proceeding, Case No. 16-80163 against ACA on
11/21/2016. Additionally, the Trustee has continued to pursue the securities fraud claims. A Mediator has been appointed regarding these claims and the mediation is
scheduled for 1/10/2017. Tolling Agreements have been reached with these parties. Unless the claims are settled in advance of trial, the Trustee foresees extended litigation for
both the avoidance action and securities fraud claims. Therefore, the estimated date for filing TFR has been moved to 12/31/2017. Trustee filed a Motion requesting a new claim
bar date for omitted creditors.

6/30/2016:
Counsel continues to pursue pre-filing settlement negotiations with ACA regarding avoidance action. Will obtained Tolling Agreement to allow negotiations to continue. Planning
to schedule mediation for this matter as well if not resolved. Special counsel is also preparing complaint for securities fraud. Experts have been retained for this action. Also,
will obtain tolling agreement is complaint is not filed by the deadline. There is an issue regarding notice to claimants. Appears that some creditors may have not received notice
of the bankruptcy filing. Trustee is reviewing and will seek assistance from court if deemed necessary.

12/31/2015:
Trustee retained Special Counsel to pursue the avoidance actions and securities claims. Counsel has drafted the avoidance complaint and is pursuing pre-filing settlement
negotiations. Counsel is also continuing to investigate the securities claim prior to filing litigation. Trustee does not believe there is any value in the personal property scheduled
by debtor but is not abandoning at this time until consultation with Special Counsel.

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6/30/2015:                                                                        Document      Page 5 of 40
This case was transferred to Janet B. Haigler on 2/18/2015 due to a potential conflict of interest the former trustee may have since his was also trustee in the companion case,
Craigs Auto Sales, Inc. Trustee received bank funds in the amount of $1,360.78 at the time of transfer. Assets of the estate include potential litigation claims against the secured   Exhibit A
lender who seized account receivables prior the bankruptcy filing, claims against professionals regarding investment offerings and fraudulent transfers to insiders.
Documentation and review of books and records have been hampered since all records were seized by the Federal Bureau of Investigation in May 2014 pursuant to an ongoing
investigation. The Former trustee provided a computer disk of information received from the FBI. Trustee has met with the former trustee to discuss similar claims against the
secured lender and the possible of cross claims in future litigation. Trustee is looking for qualified counsel to handle litigation under a contingency arrangement since there are
no funds available to fund litigation.

FORM 2: Please note Form 2 has "Total Funds on Hand" as $2,706.17. This is incorrect. Trustee's Anderson's account should be noted as zero. TCMS ledger entries have
been made after 6/30/2015 to correct ledger error made when Trustee Haigler attempted to close out the former trustee's bank account in her TCMS system. These corrective
ledger entries are not shown on the 6/30/2015 interim report due to the cut off of date.

Trustee Anderson resigned and Haigler was appointed to case. Trustee Haigler received a transfer of the electronic data for the case from Trustee Anderson which included his
Form 2 bank account information. At the time the information transferred, the March 2015 bank charge had not been posted to Anderson's Form 2. Therefore, Anderson's bank
account balance at the time the electronic information was transferred to Haigler was $1,375.78. The bank service charge of $15.00 posted to Anderson's account leaving a
balance of $1,360.78. Trustee Anderson sent Haigler a check in the amount of $1,360.78 which was deposited into a new account. Anderson's bank account was still showing
as open on Haigler's system iao $1,375.78 causing a reporting of $2,706.17 on hand. Prior to 6/30/2015, Haigler contacted the former Trustee and Epiq to determine how correct
the problem. Haigler was instructed to close Anderson's account in her TCMS system. In doing so, Haigler made the wrong entry in attempting to close out the Anderson
account. After 6/30/2015, Haigler worked with Epiq and Union Bank to resolve issue to correct the "Total Funds on Hand" showing Anderson's Bank account at zero rather than
the $1,375.78 reported as of the 6/30/2015 interims. Form 2 has been corrected and the Total Funds on Hand is now correct.

Notes From Trustee Anderson:

January 1, 2015: The Trustee has received a mirror of the hard-drives seized by the FBI, and is having them examined by a forensic analyst. The Trustee continues to go
through the records seized by the FBI. The Trustee has obtained what purport to be all of the records and work product from the Local CPAs of the Debtor; and is reviewing
internal e-mails which have been provided by the Accountants. It appears that the investigation for possible actions against third parties for actions of the Debtor which may have
been aided by those third parties may bear fruit.

October 2, 2014: This Involuntary Case was recently assigned, and the Schedules just filed. The Section 341 Meeting is tomorrow. I have requested numerous documents, etc.,
from the Debtor; to date, there has been no response. The Trustee understands that all of the records of the Debtor were seized by the United States; so the Case should prove
to be interesting.




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RE PROP #             1   --   Funds received by the former trustee.   Balance held at time of successorPage
                                                                                  Document               trustee's6 of 40
                               appointment was sent to new trustee. Prior trustee fully administered asset.
RE PROP #             2   --   These accounts receivable were seized by the Estate's biggest creditor. Trustee has                          Exhibit A
                               demanded a listing of the amounts received on the collections, but has not yet received
                               a response. This asset is tied to the avoidance litigation noted in asset number 7. The
                               accounts were transferred to the creditor prior to filing. Truste is seeking the avoidance
                               of the transfer. This may be part of litigation addressed in asset #7. Part of settlement
                               pursuant to Order entered on 3/15/2018 (Docket #130).
RE PROP #             3   --   There appears to be no value in the office furniture above the costs of liquidation.
                               Trustee will confirm her assessment with former trustee.
RE PROP #             4   --   No value determined by former trustee.
RE PROP #             5   --   There appears to be no value in the computers above the costs of liquidation. Trustee
                               will confirm her assessment with former trustee. Trustee was informed that computers
                               had been seized by government officials. Trustee has been provided with computer
                               data removed from computers.
RE PROP #             6   --   No Value determined by former trustee.
RE PROP #             7   --   Possible claims against secured lender(s) regarding pre petition transfer of assets.
                               Trustee is reviewing documents and transcripts to determine nature of claims. If
                               warranted, Trustee will seek counsel to pursue litigation. Trustee retained Special
                               Counsel to pursue the avoidance action. Counsel has drafted the avoidance complaint
                               and is pursuing pre-filing settlement negotiations. Mediation held. Settlement not
                               reached. Complaint filed. Discovery being completed. New counsel for defendant
                               retained. Trustee and counsel held several meetings with new counsel regarding
                               posssible settlement. Settlement was reached. Trustee to received $960, 000 per
                               Orders Authorizing Settlement entered on 3/15/2018 (Docket #130) and Adv. Proc. 16-
                               80163 (Docket #50). Funds received.
RE PROP #             8   --    Trustee is informed that there may be claims against professionals who assisited with
                               the debtor's investment offerings. Trustee is reviewing documents and transcripts to
                               determine nature of claims. If warranted, Trustee will seek counsel to pursue litigation.
                               Trustee retained Special Counsel to pursue the securities claims. Counsel is
                               investigating the securities claim prior to filing litigation. Mediation is being scheduled
                               for January 2017. Second Mediation held. Matter was not settled. Complaint filed on
                               12/27/2017. Matter is currently pending before Bankruptcy Court, Adv. Proc. 17-80113-
                               hb. Discovery is being completed. Litigation has been removed from the bankruptcy
                               court to the SC District Court. The orginial discover deadline has been extended at
                               request of the defendants. Discovery continues with current deadline of 3/2020. Expert
                               Reports have been exchanged. Trustee anticipates trial late summer of 2020.
                               Settlement has been reached. Trustee to received $1,360,000 pursuant to Order
                               entered on 10/8/2020 (Docket #259). $95,000 of the settlement proceeds will be paid in
                               installments with the last payment due July 15, 2021. Trustee has received the
                               settlement funds from defendants except the installment payments being made by
                               Sequence and Dozier.
RE PROP #             9   --   Trustee is informed that there may be claims against insiders. Trustee is reviewing
                               documents and transcripts to determine nature of claims. If warranted, Trustee will
                               seek counsel to pursue litigation.Trustee retained Special Counsel to pursue the
                               avoidance actions Counsel is also continuing to investigate the claim prior to filing
                               litigation. Trustee is not pursuing litigation against insiders. Mr. Dozier is named as
                               defendant in Securities Litigation against professionals, Asset #8.

Initial Projected Date of Final Report (TFR): 11/16/2015             Current Projected Date of Final Report (TFR): 08/30/2021




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                                                                                 Document      Page  7 of 40 RECORD
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                                Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                        Bank Name: Union Bank
                                                                                                                      Account Number/CD#: XXXXXX1961
                                                                                                                                               Checking
  Taxpayer ID No: XX-XXX3626                                                                                  Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                                 Separate Bond (if applicable):


       1                2                              3                                                 4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                         Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                            ($)
   03/16/15                        Estate of Dozier Financial, Inc., 14-04262   Transfer funds                                        9999-000                  $1,360.78                                 $1,360.78
                                   Robert F. Anderson                           Receipt of bankruptcy estate
                                   208 Candi Lane, Suite B                      bank account funds from
                                   Columbia, SC 29210                           former trustee to the successor
                                                                                trustee
   03/24/15            101         Insurance Partners                           2015 Pro Rata Bond Premium                            2300-000                                           $0.39            $1,360.39
                                   26865 Center Ridge Road                      Disbursement
                                   Westlake, Ohio 44145-4042
   05/26/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $1,345.39
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)
   06/25/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $1,330.39
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)
   07/22/15                        Transfer from Acct # xxxxxx0920              Transfer of Funds from                                9999-000                  $1,375.78                                 $2,706.17
                                                                                Checking account xxx0920 to
                                                                                Checking account xxx1961
                                                                                (this transaction was done in
                                                                                error. Trustee Haigler was
                                                                                attempting to close the former
                                                                                trustee's account on her TCMS
                                                                                System. Corrected b ledger
                                                                                transfer back to the account).
   07/27/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $2,691.17
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)
   07/27/15                        Transfer to Acct # xxxxxx0920                Transfer of Funds (This transfer                      9999-000                                      $1,375.78             $1,315.39
                                                                                of funds was a ledger entry to
                                                                                correct a transfer out error
                                                                                made on 7/22/2015).
   08/25/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $1,300.39
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)
   09/25/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $1,285.39
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)
   10/26/15                        Union Bank                                   Bank Service Fee under 11                             2600-000                                          $15.00            $1,270.39
                                                                                U.S.C. § 330(a)(1)(B), 503(b)
                                                                                (1), and 507(a)(2)

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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1961
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   11/25/15                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,255.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/28/15                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,240.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,225.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,210.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,195.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,180.39
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/06/16            102         Insurance Partners                        2016 Pro Rata Bond Premium                            2300-000                                           $1.06            $1,179.33
                                   26865 Center Ridge Road                   Disbursement
                                   Westlake, Ohio 44145-4042
   05/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,164.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/27/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,149.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,134.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,119.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/26/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $15.00            $1,104.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)



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                                      Case 14-04262-hb                  Doc 266   Filed 01/28/21
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                            Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1961
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                  6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   10/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $1,089.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/25/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00            $1,074.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/29/16            103         James F. Brunson                          Computer Consultant                                   3731-000                                     $1,000.00                 $74.33
                                   dba Southeaster Help Desk                 Compensation
                                   801 S. Ott Road                           Compensation for Computer
                                   Columbia, SC 29205                        Consultant pursuant to Order
                                                                             entered on 11/21/2016 (Docket
                                                                             #64).
   12/27/16                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $15.00                $59.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/28/17            104         Insurance Partners                        2017 Trustee Bond Payment                             2300-000                                          $0.06                $59.27
                                   26865 Center Ridge Road
                                   Westlake, Ohio 44145-4042
   03/29/18             7          American Credit Acceptance                Proceeds from Settlement with                         1249-000               $960,000.00                              $960,059.27
                                   961 E. Main Street                        ACA pursuant to Order entered
                                   Spartanburg, SC 29302                     on 3/15/2018 (Docket #130).
   03/29/18            105         Gleissner Law Firm, LLC                   Attorney Fees approved by                             3210-000                                   $320,000.00          $640,059.27
                                   1237 Gadsden Street                       Court
                                   Suite 200 A                               Attorney fees associated with
                                   Columbia, SC 29201                        ACA litigation pursuant to
                                                                             Order entered on 3/28/2018
                                                                             (Docket #142)
   03/29/18            106         Gleissner Law Firm LLC                    Attorneys Expenses                                    3220-000                                     $2,349.34          $637,709.93
                                   1237 Gadsden Street                       Expenses for attorney
                                   Suite 200 A                               associated with ACA litigation
                                   Columbia, SC 29201                        pursuant to Order entered on
                                                                             3/28/2018 (Docket #142).
   03/30/18            107         Insurance Partners                        2018 Trustee Bond Premium                             2300-000                                          $0.02         $637,709.91
                                   26865 Center Ridge Road
                                   Westlake, OH 44145




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Union Bank
                                                                                                                   Account Number/CD#: XXXXXX1961
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/03/18            108         Haigler Law Firm LLC                      reimbursement of costs per                            2200-000                                      $3,120.03          $634,589.88
                                   Post Office Box 505                       Court Order
                                   Chapin, SC 29036                          Reimbursement of mediators
                                                                             fee for ACA litigation advanced
                                                                             by Trustee and allowed
                                                                             pursuant to Order entered on
                                                                             3/8/2018 (Docket #124).
   04/19/18            109         Gleissner Law Firm LLC                    Attorney Fees approved by                             3210-000                                      $8,788.00          $625,801.88
                                   1237 Gadsden Street, Suite 200 A          Court
                                   Columbia, South Carolina 29201            Attorney Fees pursuant to
                                                                             Order entered on 4/18/2018
                                                                             (Docket #145).
   04/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                          $92.14         $625,709.74
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $957.08         $624,752.66
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/01/18            110         James F. Brunson, d/b/a Southeastern      Computer Consultant                                   3731-000                                      $1,840.00          $622,912.66
                                   Help Desk                                 Compensation
                                                                             Compensation for Computer
                                                                             Consultant pursuant to Order
                                                                             entered on 5/21/2018 (Docket
                                                                             149).
   06/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $929.67         $621,982.99
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $895.97         $621,087.02
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   08/27/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $924.15         $620,162.87
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $922.90         $619,239.97
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/25/18                        Union Bank                                Bank Service Fee under 11                             2600-000                                         $891.75         $618,348.22
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)

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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                               Trustee Name: Janet B. Haigler                                           Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                      Bank Name: Union Bank
                                                                                                                    Account Number/CD#: XXXXXX1961
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   11/26/18                        Union Bank                                Bank Service Fee under 11                              2600-000                                        $920.08         $617,428.14
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/26/18                        Union Bank                                Bank Service Fee under 11                              2600-000                                        $889.18         $616,538.96
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/25/19                        Union Bank                                Bank Service Fee under 11                              2600-000                                        $917.43         $615,621.53
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/06/19                        Transfer to Acct # xxxxxx0011             Transfer of Funds                                      9999-000                                   $615,621.53                 $0.00



                                                                                                              COLUMN TOTALS                               $962,736.56          $962,736.56
                                                                                                                    Less: Bank Transfers/CD's                $2,736.56         $616,997.31
                                                                                                              Subtotal                                    $960,000.00          $345,739.25
                                                                                                                    Less: Payments to Debtors                    $0.00                $0.00
                                                                                                              Net                                         $960,000.00          $345,739.25




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                                 Trustee Name: Janet B. Haigler                                           Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                        Bank Name: Union Bank
                                                                                                                     Account Number/CD#: XXXXXX0920
                                                                                                                                              Checking
  Taxpayer ID No: XX-XXX3626                                                                                   Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                                Separate Bond (if applicable):


       1                2                              3                                                4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                        Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   11/04/14             1          Bank of America                            Close Bank Account                                      1129-000                 $1,405.78                                 $1,405.78
                                   NY7-501-01-16                              Completed by Trustee
                                   5701 Horatio St.                           Anderson
                                   Utica, NY 13502
   12/26/14                        Union Bank                                 Bank Service Fee under 11                               2600-000                                         $15.00            $1,390.78
                                                                              U.S.C. § 330(a)(1)(B), 503(b)
                                                                              (1), and 507(a)(2)
   01/26/15                        Union Bank                                 Bank Service Fee under 11                               2600-000                                         $15.00            $1,375.78
                                                                              U.S.C. § 330(a)(1)(B), 503(b)
                                                                              (1), and 507(a)(2)
   07/22/15                        Transfer to Acct # xxxxxx1961              Transfer of Funds from                                  9999-000                                     $1,375.78                 $0.00
                                                                              Checking account xxx0920 to
                                                                              Checking account xxx1961
                                                                              (This transaction was done in
                                                                              error by Trustee Haigler.
                                                                              Trustee Haigler was attempting
                                                                              to close the former Trustee's
                                                                              account in her TCMS system.
                                                                              Corrected by ledger transfer b
   07/27/15                        Transfer from Acct # xxxxxx1961            Transfer of Funds (This                                 9999-000                 $1,375.78                                 $1,375.78
                                                                              transfer of funds was a ledger
                                                                              entry made by Trustee Haigler
                                                                              to correct a transfer out error
                                                                              made on 7/22/2015)
   07/27/15                        Union Bank                                 BANK SERVICE FEE                                        2600-000                                         $15.00            $1,360.78
                                   1980 Saturn Street                         March 2015 bank service fee
                                   Monterey Park, CA 91755                    assessed to Trustee
                                                                              Anderson's bank account
                                                                              before funds sent to Trustee
                                                                              Haigler by check. Entry made
                                                                              to reflect service fee on
                                                                              account that was assessed
                                                                              after TCMS electronic data was
                                                                              transferred to Trustee Haigler.
   07/27/15           12001        Estate of Dozier Financial, Inc., 14-04262- Transfer of funds by check to                          9999-000                                     $1,360.78                 $0.00
                                   HB                                          new trustee
                                                                               Balance of account to new
                                                                               trustee




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                                                                            Entered  01/28/21 15:42:41
                                                                                  TOTALS
                                                                                                                Desc Main
                                                                                                                $2,781.56   $2,781.56
                                                           Document     Page 13 of 40
                                                                                    Less: Bank Transfers/CD's   $1,375.78   $2,736.56
                                                                              Subtotal                          $1,405.78     $45.00    Exhibit B
                                                                                    Less: Payments to Debtors      $0.00       $0.00
                                                                              Net                               $1,405.78     $45.00




UST Form 101-7-TFR (5/1/2011) (Page: 13)                    Page Subtotals:                                        $0.00       $0.00
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                                Trustee Name: Janet B. Haigler                                            Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                        Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX0011
                                                                                                                                               Checking
  Taxpayer ID No: XX-XXX3626                                                                                  Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                                 Separate Bond (if applicable):


       1                2                              3                                               4                                                       5                  6                     7

Transaction Date    Check or                 Paid To / Received From                       Description of Transaction                Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                            Code                                                           ($)
   02/06/19                        Transfer from Acct # xxxxxx1961           Transfer of Funds                                        9999-000               $615,621.53                              $615,621.53

   03/05/19           2001         Insurance Partners                        2019 Trustee Blanket Bond                                2300-000                                        $309.91         $615,311.62
                                   26865 Center Ridge Road                   Premium
                                   Westlake, OH 44145
   04/10/19           2010         Clerk, U.S. Bankruptcy Court              Remit to Court Reversal                                  7100-000                                    ($5,958.74)         $621,270.36
                                                                             The check was inadvertently
                                                                             written to the clerk of court.
                                                                             Check voided and will be re-
                                                                             written to the creditor.
   04/10/19           2017         Wallace H. Jordan, Jr.                    Final distribution to claim 12                           7100-000                                    ($8,601.91)         $629,872.27
                                   Post Office Box 2010                      creditor account # representing
                                   Florence SC 29503                         a payment of 5.47 % per court
                                                                             order. Reversal
                                                                             Check was written to wrong
                                                                             creditor. Should have been
                                                                             written to Wallace H. Jordan
                                                                             SR. Unable to correct in TCMS
                                                                             despite help from software
                                                                             vendor.
   04/10/19           2002         Janet B. Haigler                          Final distribution creditor                              2100-000                                    $45,554.71          $584,317.56
                                   Chapter 7 Trustee                         account # representing a
                                   Post Office Box 505                       payment of 100.00 % per court
                                   Chapin, South Carolina 29036              order.
   04/10/19           2003         Janet B. Haigler                          Final distribution creditor                              2200-000                                     $3,592.38          $580,725.18
                                   Chapter 7 Trustee                         account # representing a
                                   Post Office Box 505                       payment of 53.52 % per court
                                   Chapin, South Carolina 29036              order.
                                                                             The balance due Trustee at
                                                                             time of Interim Disbursement
                                                                             was $3,592.38. This claim was
                                                                             paid in full.
   04/10/19           2004         George DuRant, LLC                        Final distribution creditor                              3410-000                                     $3,055.00          $577,670.18
                                   P.O. Box 2746                             account # representing a
                                   Columbia, SC 29202                        payment of 100.00 % per court
                                                                             order.




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


       1                2                               3                                             4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/10/19           2005         SC Department Of Employment &             Final distribution to claim 32                        5800-000                                      $1,521.08          $576,149.10
                                   Workforce                                 creditor account # representing
                                   PO Box 8597                               a payment of 100.00 % per
                                   1550 Gadsden Street                       court order.
                                   Columbia, SC 29202
   04/10/19           2006         South Carolina Department Of Revenue      Final distribution to claim 39                        5800-000                                      $1,680.49          $574,468.61
                                   P.O. Box 12265                            creditor account # representing
                                   Columbia, SC 29211-9979                   a payment of 100.00 % per
                                                                             court order.
   04/10/19           2007         Office Depot                              Final distribution to claim 1                         7100-000                                         $162.77         $574,305.84
                                   6600 N. Military Trail-S413g              creditor account # representing
                                   Boca Raton, Fl 33496                      a payment of 5.47 % per court
                                                                             order.
   04/10/19           2008         Barry L Townsend                          Final distribution to claim 2                         7100-000                                      $3,439.67          $570,866.17
                                   2831 Liberty Drive                        creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2009         William T. Jarrell                        Final distribution to claim 3                         7100-000                                      $5,958.74          $564,907.43
                                   1316 Place De Julian                      creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2010         Clerk, U.S. Bankruptcy Court              Remit to Court                                        7100-001                                      $5,958.74          $558,948.69

   04/10/19           2011         William T. Jarrell                        Final distribution to claim 5                         7100-000                                      $5,958.74          $552,989.95
                                   1316 Place De Julian                      creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2012         William T. Jarrell                        Final distribution to claim 6                         7100-000                                      $2,979.37          $550,010.58
                                   1316 Place De Julian                      creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2013         William T. Jarrell                        Final distribution to claim 7                         7100-000                                      $2,979.37          $547,031.21
                                   1316 Place De Julian                      creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2014         William T. Jarrell                        Final distribution to claim 8                         7100-000                                      $5,958.74          $541,072.47
                                   1316 Place De Julian                      creditor account # representing
                                   Florence SC 29501                         a payment of 5.47 % per court
                                                                             order.

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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                            Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   04/10/19           2015         Hammond Family Trust                      Final distribution to claim 9                         7100-000                                     $16,996.08         $524,076.39
                                   Gene E. Collins Trustee                   creditor account # representing
                                   4615 Armfield Road                        a payment of 5.47 % per court
                                   Effingham, South Carolina 29541           order.
   04/10/19           2016         Gene E Collins Or                         Final distribution to claim 10                        7100-000                                      $4,532.29         $519,544.10
                                   Mona R. Collins                           creditor account # representing
                                   4615 Armfield Road                        a payment of 5.47 % per court
                                   Effingham, SC 29541                       order.
   04/10/19           2017         Wallace H. Jordan, Jr.                    Final distribution to claim 12                        7100-000                                      $8,601.91         $510,942.19
                                   Post Office Box 2010                      creditor account # representing
                                   Florence SC 29503                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2018         Wallace H. Jordan, Jr.                    Final distribution to claim 13                        7100-000                                      $2,870.04         $508,072.15
                                   Post Office Box 2010                      creditor account # representing
                                   Florence SC 29503                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2019         Samuel E Evans, Jr.                       Final distribution to claim 14                        7100-000                                      $1,447.77         $506,624.38
                                   Samuel E Evans                            creditor account # representing
                                   391 Shearin St                            a payment of 5.47 % per court
                                   Darlington SC 29532                       order.
   04/10/19           2020         Samuel E Evans, Jr.                       Final distribution to claim 15                        7100-000                                      $2,895.55         $503,728.83
                                   Samuel E Evans                            creditor account # representing
                                   391 Shearin St                            a payment of 5.47 % per court
                                   Darlington SC 29532                       order.
   04/10/19           2021         Samuel E Evans, Jr.                       Final distribution to claim 16                        7100-000                                      $5,791.10         $497,937.73
                                   Samuel E Evans                            creditor account # representing
                                   391 Shearin St                            a payment of 5.47 % per court
                                   Darlington SC 29532                       order.
   04/10/19           2022         Samuel E Evans, Jr.                       Final distribution to claim 17                        7100-000                                      $1,447.77         $496,489.96
                                   Samuel E Evans                            creditor account # representing
                                   391 Shearin St                            a payment of 5.47 % per court
                                   Darlington SC 29532                       order.
   04/10/19           2023         South State Bank                          Final distribution to claim 18                        7100-000                                     $41,665.91         $454,824.05
                                   C/O James H. Cassidy                      creditor account # representing
                                   Roe Cassidy Coates & Price, PA            a payment of 5.47 % per court
                                   Po Box 10529                              order.
                                   Greenville, SC 29603




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                            Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                    7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   04/10/19           2024         Martha A. Gardner                         Final distribution to claim 19                        7100-000                                      $2,979.37         $451,844.68
                                   4415 Chestnut Hill Drive                  creditor account # representing
                                   Collierville, TN 38019                    a payment of 5.47 % per court
                                                                             order.
   04/10/19           2025         Martha A. Gardner                         Final distribution to claim 20                        7100-000                                      $2,979.37         $448,865.31
                                   4415 Chestnut Hill Drive                  creditor account # representing
                                   Collierville, TN 38019                    a payment of 5.47 % per court
                                                                             order.
   04/10/19           2026         Martha A. Gardner                         Final distribution to claim 21                        7100-000                                      $2,979.37         $445,885.94
                                   4415 Chestnut Hill Drive                  creditor account # representing
                                   Collierville, TN 38019                    a payment of 5.47 % per court
                                                                             order.
   04/10/19           2027         Dealer Financial, Inc.                    Final distribution to claim 22                        7100-000                                     $63,441.72         $382,444.22
                                   Chip Ford                                 creditor account # representing
                                   Parker Poe Adams & Bernstein LLP          a payment of 5.47 % per court
                                   401 S. Tryon Street                       order.
                                   Suite 3000
                                   Charlotte, NC 28202
   04/10/19           2028         Shelby J. Reaves Or Jeanie Reaves         Final distribution to claim 23                        7100-000                                      $5,791.10         $376,653.12
                                   Arrington                                 creditor account # representing
                                   5421 Highway 66                           a payment of 5.47 % per court
                                   Loris, SC 29569                           order.
   04/10/19           2029         Ronald D. Jordan                          Final distribution to claim 25                        7100-000                                      $5,473.58         $371,179.54
                                   1124 Conestoga Street                     creditor account # representing
                                   Manning, SC 29102                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2030         Thomas Hansell                            Final distribution to claim 26                        7100-000                                      $5,958.74         $365,220.80
                                   16789 SE 74th Soulliere Ave.              creditor account # representing
                                   The Villages, FL 32162                    a payment of 5.47 % per court
                                                                             order.
   04/10/19           2031         Anderson Brothers Bank                    Final distribution to claim 27                        7100-000                                     $38,389.91         $326,830.89
                                   c/o Suzanne Taylor Graham Grigg, Esq.     creditor account # representing
                                   Nexsen Pruet LLC                          a payment of 5.47 % per court
                                   P.O. Drawer 2426                          order.
                                   Columbia, SC 29202
   04/10/19           2032         American Credit Acceptance, LLC           Final distribution to claim 28                        7100-000                                    $107,148.04         $219,682.85
                                   Att: Steven Meyer                         creditor account # representing
                                   320 East Main Street, Third Floor         a payment of 5.47 % per court
                                   Spartanburg, SC 29302                     order.

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                                                                                                                                                                                                   Page:       12
                                      Case 14-04262-hb                  Doc 266   Filed 01/28/21
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   04/10/19           2033         Estate Of Larry M Brice, Deceased         Final distribution to claim 30                        7100-000                                      $9,588.43          $210,094.42
                                   Madeline M Brice, Widow And               creditor account # representing
                                   William M Brice Son                       a payment of 5.47 % per court
                                   Att: Brown W Johnson Atty                 order.
                                   Post Office Box 1865
                                   Florence SC 29503
   04/10/19           2034         Gary E. Donica                            Final distribution to claim 31                        7100-000                                      $1,447.77          $208,646.65
                                   311 E. Grace Drive                        creditor account # representing
                                   Florence, SC 29501                        a payment of 5.47 % per court
                                                                             order.
   04/10/19           2035         C. Dathon Reynolds                        Final distribution to claim 36                        7100-000                                     $17,242.09          $191,404.56
                                   100 W. Jackson Street                     creditor account # representing
                                   Lamar, SC 29069                           a payment of 5.47 % per court
                                                                             order.
   04/10/19           2036         Davohn D. Rhame                           Final distribution to claim 38                        7100-000                                      $6,949.32          $184,455.24
                                   6516 Raceview Terrace                     creditor account # representing
                                   Raleigh, NC 27615                         a payment of 5.47 % per court
                                                                             order.
   04/10/19           2037         Lingle Family LP                          Final distribution to claim 40                        7100-000                                      $2,879.15          $181,576.09
                                   Lingle Family LP                          creditor account # representing
                                   c/o James Lingle                          a payment of 5.47 % per court
                                   518 W Palmetto St                         order.
                                   Florence SC 29501
   04/10/19           2038         Patricia B. Hoffmeyer                     Final distribution to claim 43                        7100-000                                         $579.11         $180,996.98
                                   3868 Cherrywood Rd                        creditor account # representing
                                   Florence, SC 29501                        a payment of 5.47 % per court
                                                                             order.
   04/10/19           2039         Scott Hoffmeyer                           Final distribution to claim 44                        7100-000                                      $4,922.43          $176,074.55
                                   3860 Cherrywood Rd                        creditor account # representing
                                   Florence, SC 29501                        a payment of 5.47 % per court
                                                                             order.
   04/10/19           2040         Louis Conrad Hoffmeyer                    Final distribution to claim 45                        7100-000                                     $16,684.48          $159,390.07
                                   3868 Cherrywood Rd                        creditor account # representing
                                   Florence, SC 29501                        a payment of 5.47 % per court
                                                                             order.
   04/10/19           2041         William W. Mccall                         Final distribution to claim 46                        7100-000                                     $15,880.41          $143,509.66
                                   540 Turnpike Road                         creditor account # representing
                                   Florence, Sc 29501                        a payment of 5.47 % per court
                                                                             order.

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                                                                                                                                                                                                    Page:       13
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                              Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                      Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0011
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX3626                                                                                Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                            ($)
   04/10/19           2042         IRA Innovations LLC, FBO Billy Dean       Final distribution to claim 47                         7100-000                                      $1,182.93          $142,326.73
                                   Richardson                                creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2043         IRA Innovations LLC, FBO Steve            Final distribution to claim 48                         7100-000                                      $1,788.73          $140,538.00
                                   Matthews                                  creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2044         IRA Innovations LLC, FBO Cordie M         Final distribution to claim 49                         7100-000                                         $707.93         $139,830.07
                                   Dozier                                    creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2045         IRA Innovations LLC, FBO Alice D Fowler Final distribution to claim 50                           7100-000                                         $980.49         $138,849.58
                                   PO Box 360750                           creditor account # representing
                                   Birmingham, Al 35326                    a payment of 5.47 % per court
                                                                           order.
   04/10/19           2046         IRA Innovations LLC, FBO Jacquelyn J      Final distribution to claim 51                         7100-000                                      $2,238.46          $136,611.12
                                   Fisher                                    creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2047         IRA Innovations LLC, FBO Sandra M         Final distribution to claim 53                         7100-000                                      $3,843.29          $132,767.83
                                   Prosser                                   creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2048         IRA Innovations LLC, FBO William M        Final distribution to claim 54                         7100-000                                      $2,895.56          $129,872.27
                                   Grady                                     creditor account # representing
                                   PO Box 360750                             a payment of 5.47 % per court
                                   Birmingham, Al 35326                      order.
   04/10/19           2049         William T. Jarrell                        Interim Disbtribution to claim 4                       7100-000                                      $5,958.74          $123,913.53
                                   1316 Place De Julian                      representing a payment of
                                   Florence, SC 29501                        5.47% per court order.
   04/10/19           2050         Wallace H. Jordan, Sr.                    Interim Disbtribution to claim 12                      7100-000                                      $8,601.91          $115,311.62
                                   Post Office Box 2010
                                   Florence, SC 29503                        representing a payment of
                                                                             5.47% per court order.




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   11/05/19           2051         Southern Reporting, Inc.                  Administrative Expense Per                            2990-000                                      $4,773.24          $110,538.38
                                   701 Gervais Street                        Court Order
                                   Suite 150-285                             Deposition transcripts for
                                   Columbia, SC 29201                        District Court matter entitled
                                                                             Janet B. Haigler, Chapter 7
                                                                             Trustee, v. Michael A. Dozier,
                                                                             et al., per Order entered on
                                                                             10/30/2019 (Docket #233).
   11/05/19           2052         Clark & Associates, Inc.                  Administrative Expense Per                            2990-000                                         $329.85         $110,208.53
                                   P.O. Box 12189                            Court Order
                                   Charleston, SC 29422                      Deposition transcripts for
                                                                             District Court matter entitled
                                                                             Janet B. Haigler, Chapter 7
                                                                             Trustee, v. Michael A. Dozier,
                                                                             et al, pursuant to Court Order
                                                                             entered on 10/30/2019 (Docket
                                                                             #233).
   11/05/19           2053         Esquire Deposition Solutions              Administrative Expense Per                            2990-000                                      $1,495.90          $108,712.63
                                   2700 Centennial Tower                     Court Order
                                   101 Marietta Street                       Deposition transcripts for
                                   Atlanta, GA 30303                         District Court matter entitled
                                                                             Janet B. Haigler, Chapter 7
                                                                             Trustee, v. Michael A. Dozier,
                                                                             et al, pursuant to Court Order
                                                                             entered on 10/30/2019 (Docket
                                                                             #233).
   11/05/19           2054         Gleissner Law Firm LLC                    Administrative Expense Per                            2990-000                                      $4,366.19          $104,346.44
                                   1237 Gadsden Street, Suite 200a           Court Order
                                   Columbia, SC 29201                        Reimbursement for advance of
                                                                             expense for Deposition
                                                                             transcripts for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             10/30/2019 (Docket #233).
   03/19/20           2055         Insurance Partners                        Trustee Bond Premium                                  2300-000                                          $48.83         $104,297.61
                                   26865 Center Ridge Road
                                   Westlake, Ohio 44145-4042



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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                             Trustee Name: Janet B. Haigler                                             Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                     Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   06/29/20           2056         Gleissner Law Firm LLC                    reimbursement of costs per                            2990-000                                      $2,373.50          $101,924.11
                                   1237 Gadsden Street, Suite 200-A          Court Order
                                   Columbia, SC 29201                        Reimbursement for advance of
                                                                             expense for Deposition
                                                                             transcripts for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).
   06/29/20           2057         Veritext Legal Solutions                  reimbursement of costs per                            2990-000                                         $716.60         $101,207.51
                                   234 Seven Farms Dr., Ste. 210             Court Order
                                   Charleston, SC 29492                      Expense for Deposition
                                                                             transcripts for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).
   06/29/20           2058         Southeastern Transcript, Inc.             reimbursement of costs per                            2990-000                                      $2,113.40           $99,094.11
                                   P.O. Box 13478                            Court Order
                                   Charleston, SC 29422                      Expense for Deposition
                                                                             transcripts for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).
   06/29/20           2059         Southern Reporting, Inc.                  reimbursement of costs per                            2990-000                                      $1,771.25           $97,322.86
                                   701 Gervais Street                        Court Order
                                   Suite 150-285                             Expense for Deposition
                                   Columbia, S.C. 29201                      transcript for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                              Trustee Name: Janet B. Haigler                                            Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                      Bank Name: Axos Bank
                                                                                                                    Account Number/CD#: XXXXXX0011
                                                                                                                                             Checking
  Taxpayer ID No: XX-XXX3626                                                                                Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                               Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                       Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)   Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   06/29/20           2060         CSI Global Deposition Services            reimbursement of costs per                             2990-000                                      $1,331.60          $95,991.26
                                   4950 N. O'Connor Road, Suite 152          Court Order
                                   Irving, TX 75062-2778                     Expense for Deposition
                                                                             transcript for District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).
   06/29/20           2061         Fitts, Roberts, Kolkhorst & Co., P.C.     reimbursement of costs per                             2990-000                                      $3,600.00          $92,391.26
                                   5718 Westheimer, Ste. #800                Court Order
                                   Houston, TX 77057                         Expert Witness Fee for
                                                                             Deposition in District Court
                                                                             matter entitled Janet B. Haigler,
                                                                             Chapter 7 Trustee, v. Michael
                                                                             A. Dozier, et al, pursuant to
                                                                             Court Order entered on
                                                                             06/25/2020 (Docket #238).
   06/29/20           2062         Nelson Mullins Riley & Scarborough LLP    reimbursement of costs per                             2990-000                                      $3,534.00          $88,857.26
                                   Post Office Box 11070                     Court Order
                                   Columbia, SC 29211                        Expert Witness Fee for
                                                                             Deposition transcripts in District
                                                                             Court matter entitled Janet B.
                                                                             Haigler, Chapter 7 Trustee, v.
                                                                             Michael A. Dozier, et al,
                                                                             pursuant to Court Order
                                                                             entered on 06/25/2020 (Docket
                                                                             #238).
   09/09/20             8          Michael Dozier                            Proceeds from Settlement                               1249-000                  $1,000.00                              $89,857.26
                                   3737 Garner Road                          Proceeds of Settlement with
                                   Timmonsville, SC 29161                    Michael Dozier of $10,000 to be
                                                                             paid over 10 installment
                                                                             payments.
                                                                             Payment 1
   10/12/20             8          Michael A. Dozier                         Proceeds from Settlement                               1249-000                  $1,000.00                              $90,857.26
                                   3737 Garner Rd.                           Proceeds of Settlement with
                                   Timmonsville, SC 29161                    Michael Dozier of $10,000 to be
                                                                             paid over 10 installment
                                                                             payments.
                                                                             Payment 2


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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                            Trustee Name: Janet B. Haigler                                           Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                    Bank Name: Axos Bank
                                                                                                                  Account Number/CD#: XXXXXX0011
                                                                                                                                           Checking
  Taxpayer ID No: XX-XXX3626                                                                              Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                 Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)   Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   11/06/20             8          Starstone Specialty Insurance Company     Proceeds from Settlement                             1249-000               $430,000.00                             $520,857.26
                                   P.O. Box 100165                           Proceeds from Wilcox, Buyck &
                                   Columbia, SC 29202                        Williams, P.A. pursuant to
                                                                             Settlement Order On Notice of
                                                                             Settlement and Compromise
                                                                             entered on 10/8/2020 (Docket
                                                                             #259).
   11/10/20             8          Continental Casualty Company              Proceeds from Settlement                             1249-000               $430,000.00                             $950,857.26
                                   Chicago, IL 60604                         Proceeds from Webster
                                                                             Rogers, LLP pursuant to
                                                                             Settlement Order On Notice of
                                                                             Settlement and Compromise
                                                                             entered on 10/8/2020 (Docket
                                                                             #259).
   11/10/20             8          CPA Mutual Insurance Company of           Proceeds from Settlement                             1249-000               $405,000.00                           $1,355,857.26
                                   America RRG                               Proceeds from Shilson,
                                   4923 NW 43 St. Ste C                      Goldberg, Cheung &
                                   Gainsville, FL 32606                      Associates pursuant to
                                                                             Settlement Order On Notice of
                                                                             Settlement and Compromise
                                                                             entered on 10/8/2020 (Docket
                                                                             #259).
   11/16/20           2063         John R. Markel                            Expert Fees associated with                          3991-000                                    $65,757.50       $1,290,099.76
                                   Post Office Box 8913                      litigation pursuant to Order
                                   Greenville, SC 29604                      entered on 10/8/2020 (Docket
                                                                             #258).
   11/16/20           2064         George DuRant, LLC                        Expert Fees associated with                          3991-000                                   $255,628.75       $1,034,471.01
                                   Post Office Box 2746                      Litigation pursuant to Order
                                   Columbia, SC 29206                        entered on 10/8/2020 (Docket
                                                                             #257)
   11/16/20           2065         Robert Young                              Expert Fees associated with                          3991-000                                    $50,425.00         $984,046.01
                                   Belser & Belser                           litigation pursuant to Order
                                   Post Office Box 96                        entered on 10/8/2020 (Docket
                                   Columbia, SC 29202                        #256).
   11/16/20           2066         John P. Freeman                           Expert Fees associated with                          3991-000                                   $106,860.00         $877,186.01
                                   200 W. Highland Drive, #107               litigation pursuant to Order
                                   Seattle, Washington 98119-3507            entered on 10/8/2020 (Docket
                                                                             #255).




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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 14-04262                                                                                                Trustee Name: Janet B. Haigler                                          Exhibit B
      Case Name: Dozier Financial, Inc.                                                                                       Bank Name: Axos Bank
                                                                                                                     Account Number/CD#: XXXXXX0011
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3626                                                                               Blanket Bond (per case limit): $3,000,000.00
For Period Ending: 01/07/2021                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                      5                  6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                           ($)
   11/17/20             8          Michael A.Dozier                          Proceeds from Settlement                                1249-000                $1,000.00                              $878,186.01
                                   3737 Garner Road                          Proceeds of Settlement with
                                   Timmonsville, SC 29161                    Michael Dozier of $10,000 to be
                                                                             paid over 10 installment
                                                                             payments.
                                                                             Payment 3
   01/06/21           2067         Gleissner Law Firm LLC                    Attorney Fees approved by                               3210-000                                  $453,333.33          $424,852.68
                                   1237 Gadsden Street, Suite 200A           Court
                                   Columbia, SC 29201                        Attorney Fees approved by
                                                                             Order entered on 10/08/2020
                                                                             (Docket #254).
   01/06/21           2068         Gleissner Law Firm LLC                    Attorneys Expenses                                      3220-000                                   $11,041.47          $413,811.21
                                   1237 Gadsden Street, Suite 200A           Attorney expenses approved by
                                   Columbia, SC 29201                        Order entered on 10/08/2020
                                                                             (Docket #254).


                                                                                                              COLUMN TOTALS                             $1,883,621.53        $1,469,810.32
                                                                                                                     Less: Bank Transfers/CD's            $615,621.53                 $0.00
                                                                                                              Subtotal                                  $1,268,000.00        $1,469,810.32
                                                                                                                     Less: Payments to Debtors                   $0.00                $0.00
                                                                                                               Net                                      $1,268,000.00        $1,469,810.32




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                                                                                                                                                              Page:     19
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                                                                                                                                                               Exhibit B
                                                                                         TOTAL OF ALL ACCOUNTS
                                                                                                                                          NET              ACCOUNT
                                                                                                       NET DEPOSITS         DISBURSEMENTS                  BALANCE
                                           XXXXXX0011 - Checking                                         $1,268,000.00          $1,469,810.32             $413,811.21
                                           XXXXXX0920 - Checking                                              $1,405.78                 $45.00                  $0.00
                                           XXXXXX1961 - Checking                                           $960,000.00            $345,739.25                   $0.00
                                                                                                         $2,229,405.78          $1,815,594.57             $413,811.21

                                                                                                      (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                              transfers)            to debtors)
                                           Total Allocation Receipts:                        $0.00
                                           Total Net Deposits:                        $2,229,405.78
                                           Total Gross Receipts:                      $2,229,405.78




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                                                               ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                            Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class       Notes                                                Scheduled              Claimed             Allowed
            Janet B. Haigler                  Administrative                                                             $0.00            $89,232.17          $89,232.17
100         Chapter 7 Trustee
2100        Post Office Box 505                                 Trustee Compensation
            Chapin, South Carolina 29036


            Janet B. Haigler                  Administrative                                                              $0.00            $7,823.26           $7,823.26
100         Chapter 7 Trustee
2200        Post Office Box 505                                 Trustee Expenses
            Chapin, South Carolina 29036


            George DuRant, LLC                Administrative                                                              $0.00            $3,055.00           $3,055.00
100         P.O. Box 2746
3410        Columbia, SC 29202                                  Accountant Fee




            James F. Brunson d/b/a            Administrative                                                              $0.00            $3,892.00           $3,892.00
100         Southeastern Help Desk
3731        857 Hampton Creek Way                               Computer Consultant Fees
            Columbia, SC 29209


32          SC Department Of Employment &     Priority                                                                    $0.00            $1,521.08           $1,521.08
280         Workforce
5800        PO Box 8597                                         Allow - Unsecured Claim With Priority pursuant to 11 U. S.C. §507(a)(8)
            1550 Gadsden Street                                 See Order entered on 11/27/2018 (Docket #160), later amended by Order entered on 1/2/2019 (Docket
            Columbia, SC 29202                                  #206).




39          South Carolina Department Of      Priority                                                                    $0.00            $1,680.49           $1,680.49
280         Revenue
5800        P.O. Box 12265                                      Allow - General Unsecured Claim With Priority pursuant to 11 U.S.C. §507 (a)(8).
            Columbia, SC 29211-9979                             See Order entered on 11/27/2018 (Docket #160), later amended by Order entered on 1/2/2019 (Docket
                                                                #207).




1           Office Depot                      Unsecured                                                                   $0.00            $2,977.41           $2,977.41
300         6600 N. Military Trail-S413g
7100        Boca Raton, Fl 33496                                Allow - General Unsecured Claim Without Priority
                                                                (Claims register incorrectly notes amount of claim as ($2,944.41)




2           Barry L Townsend                  Unsecured                                                             $60,000.00            $60,000.00          $62,920.00
300         2831 Liberty Drive
7100        Florence SC 29501                                   Allow - General Unsecured Claim Without Priority
                                                                See Order on Claims entered on 1/22/2019 (Docket #215).




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                                                              ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                       Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class      Notes                                             Scheduled             Claimed             Allowed
3           William T. Jarrell                Unsecured                                                        $500,000.00          $100,000.00         $109,000.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




4           William T. Jarrell                Unsecured                                                              $0.00          $100,000.00         $109,000.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




5           William T. Jarrell                Unsecured                                                              $0.00          $100,000.00         $109,000.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




6           William T. Jarrell                Unsecured                                                              $0.00           $50,000.00          $54,500.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




7           William T. Jarrell                Unsecured                                                              $0.00           $50,000.00          $54,500.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




8           William T. Jarrell                Unsecured                                                              $0.00          $100,000.00         $109,000.00
300         1316 Place De Julian
7100        Florence SC 29501                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




9           Hammond Family Trust              Unsecured                                                        $300,000.00          $300,000.00         $310,900.01
300         Gene E. Collins Trustee
7100        4615 Armfield Road                                 Allow - General Unsecured Claim Without Priority
            Effingham, South Carolina 29541                    See Order on Claims entered on 1/22/2019 (Docket #215).




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                                                              ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                       Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class      Notes                                             Scheduled             Claimed             Allowed
10          Gene E Collins Or                 Unsecured                                                         $80,000.00           $80,000.00          $82,906.67
300         Mona R. Collins
7100        4615 Armfield Road                                 Allow - General Unsecured Claim Without Priority
            Effingham, SC 29541                                See Order on Claims entered on 1/22/2019 (Docket #215).




12          Wallace H. Jordan, Jr.            Unsecured                                                        $150,000.00          $150,000.00         $157,350.00
300         Post Office Box 2010
7100        Florence SC 29503                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




13          Wallace H. Jordan, Jr.            Unsecured                                                         $50,000.00           $50,000.00          $52,500.00
300         Post Office Box 2010
7100        Florence SC 29503                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




14          Samuel E Evans, Jr.               Unsecured                                                        $200,000.00           $25,000.00          $26,483.33
300         Samuel E Evans
7100        391 Shearin St                                     Allow - General Unsecured Claim Without Priority
            Darlington SC 29532                                See Order on Claims entered on 1/22/2019 (Docket #215).




15          Samuel E Evans, Jr.               Unsecured                                                              $0.00           $50,000.00          $52,966.67
300         Samuel E Evans
7100        391 Shearin St                                     Allow - General Unsecured Claim Without Priority
            Darlington SC 29532                                See Order on Claims entered on 1/22/2019 (Docket #215).




16          Samuel E Evans, Jr.               Unsecured                                                              $0.00          $100,000.00         $105,933.33
300         Samuel E Evans
7100        391 Shearin St                                     Allow - General Unsecured Claim Without Priority
            Darlington SC 29532                                See Order on Claims entered on 1/22/2019 (Docket #215).




17          Samuel E Evans, Jr.               Unsecured                                                              $0.00           $25,000.00          $26,483.33
300         Samuel E Evans
7100        391 Shearin St                                     Allow - General Unsecured Claim Without Priority
            Darlington SC 29532                                See Order on Claims entered on 1/22/2019 (Docket #215).




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                                                                ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                            Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address           Claim Class      Notes                                                Scheduled             Claimed              Allowed
18          South State Bank                    Unsecured                                                           $800,000.00          $767,583.99          $762,171.57
300         C/O James H. Cassidy
7100        Roe Cassidy Coates & Price, PA                       Allow - General Unsecured Claim Without Priority
            Po Box 10529                                         Reduced by $5,412.42
            Greenville, SC 29603                                 See Order entered on 11/27/2018 (Docket #160)




19          Martha A. Gardner                   Unsecured                                                           $150,000.00           $72,300.00           $54,500.00
300         4415 Chestnut Hill Drive
7100        Collierville, TN 38019                               Allowed - General Unsecured Claim Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




20          Martha A. Gardner                   Unsecured                                                                 $0.00           $69,300.00           $54,500.00
300         4415 Chestnut Hill Drive
7100        Collierville, TN 38019                               Allowed- General Unsecured Claim Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




21          Martha A. Gardner                   Unsecured                                                                 $0.00           $96,100.00           $54,500.00
300         4415 Chestnut Hill Drive
7100        Collierville, TN 38019                               Allow - General Unsecured Claim Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




22          Dealer Financial, Inc.              Unsecured                                                                 $0.00        $1,160,504.38         $1,160,504.38
300         Chip Ford
7100        Parker Poe Adams & Bernstein                         Allow -- General Unsecured Claim Without Priority. This is guaranty claim.
            LLP                                                  See Consent Order entered on 11/27/2018 (Docket #161).
            401 S. Tryon Street
            Suite 3000
            Charlotte, NC 28202
23          Shelby J. Reaves Or Jeanie Reaves   Unsecured                                                           $100,000.00          $100,000.00          $105,933.33
300         Arrington
7100        5421 Highway 66                                      Allow - General Unsecured Claim Without Priority
            Loris, SC 29569                                      See Order on Claims entered on 1/22/2019 (Docket #215).




24          Ronald D. Jordan                    Unsecured                                                                 $0.00           $95,055.00                $0.00
300         1124 Conestoga Street
7100        Manning, SC 29102                                    Claim number 24 Withdrawn due to issues with image.
                                                                 See docket entry on 2/24/2016 (Docket #42).




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Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address           Claim Class      Notes                                               Scheduled              Claimed              Allowed
25          Ronald D. Jordan                    Unsecured                                                                $0.00            $95,055.00          $100,125.13
300         1124 Conestoga Street
7100        Manning, SC 29102                                    Allow - General Unsecured Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




26          Thomas Hansell                      Unsecured                                                           $100,000.00          $100,000.00          $109,000.00
300         16789 SE 74th Soulliere Ave.
7100        The Villages, FL 32162                               Allow - General Unsecured Claim Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




27          Anderson Brothers Bank              Unsecured                                                           $613,562.82          $702,245.48          $702,245.48
300         c/o Suzanne Taylor Graham Grigg,
7100        Esq.                                                 Allow - General Unsecured Claim Without Priority
            Nexsen Pruet LLC
            P.O. Drawer 2426
            Columbia, SC 29202
28          American Credit Acceptance, LLC     Unsecured                                                                 $0.00        $1,960,000.00         $1,960,000.00
300         Att: Steven Meyer
7100        320 East Main Street, Third Floor                    Allow - Unsecured Claim Without Priority.
            Spartanburg, SC 29302                                Deemed timely filed by Order entered on 1/11/2017(Docket #92).
                                                                 Pursuant to Order On Notice of Settlement and Compromise entered on 3/15/2018 (Docket #130).




29          American Credit Acceptance LLC      Unsecured                                                                 $0.00        $3,715,249.00                $0.00
300         See Assignment of Claim (Docket
7100        #136)                                                Disallow
            Att: Steven Meyer                                    See Order entered on 11/27/2018 (Docket #160)
            320 East Main Street, Third Floor                    On 3/16/2018, the claim was assigned by Robert F. Anderson, Trustee to American Credit Acceptance
            Spartanburg, SC 29302                                Corp. ("ACA"). On 3/15/2018, the Trustee entered into a settlement with ACA regarding claims against
                                                                 the estate including this assigned claim of Trustee Anderson. Pursuant to Court Orders entered on
                                                                 3/15/2018 (Docket #130) and (Docket #50 16-80163), no value for this claim is being allow. Any
                                                                 amounts due to ACA for claims against this estate are asserted in Claim Number 28 herein.




30          Estate Of Larry M Brice, Deceased   Unsecured                                                            $80,571.93          $165,571.93          $175,395.86
300         Madeline M Brice, Widow And
7100        William M Brice Son                                  Allow - General Unsecured Claim Without Priority
            Att: Brown W Johnson Atty                            See Order on Claims entered on 1/22/2019 (Docket #215).
            Post Office Box 1865
            Florence SC 29503

31          Gary E. Donica                      Unsecured                                                            $25,000.00           $25,000.00           $26,483.33
300         311 E. Grace Drive
7100        Florence, SC 29501                                   Allow - General Unsecured Claim Without Priority
                                                                 See Order on Claims entered on 1/22/2019 (Docket #215).




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                                                              ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                           Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class      Notes                                              Scheduled                Claimed             Allowed
36          C. Dathon Reynolds                Unsecured                                                         $275,000.00             $300,000.00         $315,400.00
300         100 W. Jackson Street
7100        Lamar, SC 29069                                    Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




37          C. Dathon Reynolds                Unsecured                                                                  $0.00          $169,741.90               $0.00
300         100 W. Jackson Street
7100        Lamar, SC 29069                                    Disallow - Not Debt of the Debtor
                                                               Objection. See Order entered on 1/8/2019 (Docket #209).




38          Davohn D. Rhame                   Unsecured                                                         $120,000.00             $120,000.00         $127,120.00
300         6516 Raceview Terrace
7100        Raleigh, NC 27615                                  Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




40          Lingle Family LP                  Unsecured                                                          $50,000.00              $69,116.67          $52,666.66
300         Lingle Family LP
7100        c/o James Lingle                                   Allow - General Unsecured Claim Without Priority
            518 W Palmetto St                                  See Order on Claims entered on 1/22/2019 (Docket #215).
            Florence SC 29501


41          Wallace H. Jordan, Jr             Unsecured                                                                  $0.00           $50,000.00               $0.00
300         1338 Lazar Place
7100        Florence, SC 29501                                 Disallow - Duplicative of claim number 13
                                                               Objection filed. See Order entered on 7/24/2017(Docket #113).




42          Wallace H Jordan Sr               Unsecured                                                                  $0.00          $150,000.00               $0.00
300         715 Rosewood Drive
7100        Florence Sc 29501                                  Disallow - Duplicative of claim number 12
                                                               Objection filed. See Order entered on 7/24/2017 (Docket #113)




43          Patricia B. Hoffmeyer             Unsecured                                                          $10,000.00              $10,000.00          $10,593.33
300         3868 Cherrywood Rd
7100        Florence, SC 29501                                 Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




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Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class      Notes                                                Scheduled             Claimed             Allowed
44          Scott Hoffmeyer                   Unsecured                                                            $85,000.00           $85,000.00          $90,043.33
300         3860 Cherrywood Rd
7100        Florence, SC 29501                                 Allow - General Unsecured Claim Without Priority
                                                               Response Received
                                                               Consent Order entered on 1/23/2019 (Docket #216).




45          Louis Conrad Hoffmeyer            Unsecured                                                        $280,000.00             $280,000.00         $305,200.00
300         3868 Cherrywood Rd
7100        Florence, SC 29501                                 Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




46          William W. Mccall                 Unsecured                                                        $275,000.00             $275,000.00         $290,491.68
300         540 Turnpike Road
7100        Florence, Sc 29501                                 Allow - General Unsecured Claim Without Priority
                                                               See Order on Claims entered on 1/22/2019 (Docket #215).




47          IRA Innovations LLC, FBO Billy    Unsecured                                                            $20,426.70                 $0.00         $21,638.68
300         Dean Richardson
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




48          IRA Innovations LLC, FBO Steve    Unsecured                                                            $30,887.53                 $0.00         $32,720.21
300         Matthews
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




49          IRA Innovations LLC, FBO Cordie   Unsecured                                                            $12,224.54                 $0.00         $12,949.86
300         M Dozier
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




50          IRA Innovations LLC, FBO Alice    Unsecured                                                            $16,931.03                 $0.00         $17,935.60
300         D Fowler
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




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                                                              ANALYSIS OF CLAIMS REGISTER
Case Number: 14-04262-HB                                                                                                                         Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address         Claim Class      Notes                                               Scheduled              Claimed            Allowed
51          IRA Innovations LLC, FBO          Unsecured                                                           $38,653.44                $0.00          $40,946.88
300         Jacquelyn J Fisher
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




52          IRA Innovations LLC, FBO          Unsecured                                                           $95,055.70                 $0.00              $0.00
300         Ronald D Jordan
7100        PO Box 360750                                      Disallow - Duplicative of Claim number 25.
            Birmingham, Al 35326                               See Order entered on 7/24/2017 (Docket #113).




53          IRA Innovations LLC, FBO Sandra   Unsecured                                                           $66,365.47                 $0.00         $70,303.15
300         M Prosser
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




54          IRA Innovations LLC, FBO          Unsecured                                                           $50,000.00                 $0.00         $52,966.67
300         William M Grady
7100        PO Box 360750                                      Allow - General Unsecured Claim Without Priority
            Birmingham, Al 35326                               See Order on Claims entered on 1/22/2019 (Docket #215).




55          Barry L. Townsend                 Unsecured                                                                $0.00           $60,000.00               $0.00
300         2831 Liberty Drive
7100        Florence, SC 29501                                 Disallow - Duplicative of Claim Number 2
                                                               See Order entered 7/24/2017 (Docket #113).




56          Samuel E. Evans                   Unsecured                                                                $0.00          $200,000.00               $0.00
300         PO Box 3990
7100        Florence SC 29502                                  Disallow - Duplicative of Claims numbers 14, 15, 16, and 17.
                                                               See Order entered on 7/24/2017 (Docket #113).




32          SC Department Of Employment &     Unsecured                                                                $0.00              $228.53             $228.53
380         Workforce
7300        PO Box 8597                                        Allow - Unsecured Penalty Claim pursuant to 11 U.S.C. §726 (a)(4)
            1550 Gadsden Street                                See Order entered on 11/27/2018 (Docket #160), later amended by Order entered on 1/2/2019 (Docket
            Columbia, SC 29202                                 #206).




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Case Number: 14-04262-HB                                                                                                                               Date: January 7, 2021
Debtor Name: Dozier Financial, Inc.
Claims Bar Date: 12/18/2014


Code #      Creditor Name And Address          Claim Class        Notes                                                 Scheduled               Claimed              Allowed
39          South Carolina Department Of       Unsecured                                                                    $0.00               $167.60              $167.60
380         Revenue
7300        P.O. Box 12265                                        Allow - General Unsecured Penalty Claim pursuant to 11 U.S.C. §726(a)(4)
            Columbia, SC 29211-9979                               See Order entered on 11/27/2018 (Docket #160), later amended by Order entered on 1/2/2019 (Docket
                                                                  #207).




33          Florence County Treasurer          Secured                                                                   $2,300.00            $5,289.21                 $0.00
400         Att: Delinquent Tax Office
4110        180 N. Irby Street, MSC-TT                            Allow - Secured Claim. However, the collateral supporting this claim did not come in the hands of the
            Florence, SC 29501                                    Trustee nor create funds in the hands of the Trustee. Therefore, claimant will not receive a distribution
                                                                  since no deficiency has been asserted.
                                                                  See Order entered on 7/24/2017 (Docket #113).




34          Florence County Treasurer          Secured                                                                       $0.00            $5,993.23                 $0.00
400         Att: Delinquent Tax Office
4110        180 N. Irby Street, MSC-TT                            Allow - Secured Claim. However, the collateral supporting this claim did not come in the hands of the
            Florence, SC 29501                                    Trustee nor create funds in the hands of the Trustee. Therefore, claimant will not receive a distribution
                                                                  since no deficiency has been asserted.
                                                                  See Order entered on 7/24/2017 (Docket #113).




35          Florence County Treasurer          Secured                                                                       $0.00            $5,930.76                 $0.00
400         Att: Delinquent Tax Office
4110        180 N. Irby Street, MSC-TT                            Allow - Secured Claim. However, the collateral supporting this claim did not come in the hands of the
            Florence, SC 29501                                    Trustee nor create funds in the hands of the Trustee. Therefore, claimant will not receive a distribution
                                                                  since no deficiency has been asserted.
                                                                  See Order entered on 7/24/2017 (Docket #113).




11          Mutual Savings Bank, F.A.          Secured                                                                $261,126.51           $270,190.87                 $0.00
400         Mutual Savings Bank, F.A.
4210        C/O Tara E. Nauful, Esq.                              Allow - Secured Claim. However, the collateral supporting this claim did not come in the hands of the
            Adams And Reese LLP                                   Trustee nor create funds in the hands of the Trustee. Therefore, claimant will not receive a distribution
            1501 Main Street, 5Th Floor                           since no deficiency has been asserted.
            Columbia, SC 29201                                    See Order entered on 11/27/2018 (Docket #160).




            Case Totals                                                                                             $4,898,105.67        $12,630,804.96         $8,240,356.01
               Code#: Trustee’s Claim Number, Priority Code, Claim Type (UTC)




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                                           TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 14-04262-HB
     Case Name: Dozier Financial, Inc.
     Trustee Name: Janet B. Haigler
                         Balance on hand                                               $              413,811.21

               Claims of secured creditors will be paid as follows:

                                                              Allowed            Interim
                                                              Amount of          Payment to       Proposed
      Claim No. Claimant                       Claim Asserted Claim              Date             Payment
                      Mutual Savings
      11              Bank, F.A.              $   270,190.87 $             0.00 $          0.00 $            0.00
                      Florence County
      33              Treasurer               $     5,289.21 $             0.00 $          0.00 $            0.00
                      Florence County
      34              Treasurer               $     5,993.23 $             0.00 $          0.00 $            0.00
                      Florence County
      35              Treasurer               $     5,930.76 $             0.00 $          0.00 $            0.00
                 Total to be paid to secured creditors                                 $                     0.00
                 Remaining Balance                                                     $             413,811.21


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant                Total Requested    to Date          Payment
      Trustee Fees: Janet B. Haigler                     $       89,232.17 $        45,554.71 $       43,677.46
      Trustee Expenses: Janet B. Haigler                 $        7,823.26 $         6,712.41 $          1,110.85
      Accountant for Trustee Fees: George
      DuRant, LLC                                        $        3,055.00 $         3,055.00 $              0.00
      Other: James F. Brunson d/b/a Southeastern
      Help Desk                                  $                3,892.00 $            0.00 $           3,892.00




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                 Total to be paid for chapter 7 administrative expenses                $              48,680.31
                 Remaining Balance                                                     $             365,130.90


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                              NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $3,201.57 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
                          SC Department Of
     32                   Employment & Workforce $              1,521.08 $          1,521.08 $               0.00
                          South Carolina Department
     39                   Of Revenue                $           1,680.49 $          1,680.49 $               0.00
                 Total to be paid to priority creditors                                $                     0.00
                 Remaining Balance                                                     $             365,130.90


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $8,132,755.88 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 9.6 percent, plus interest (if applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount     Interim Payments Proposed
     Claim No.            Claimant                        of Claim           to Date          Payment
     1                    Office Depot                    $     2,977.41 $           162.77 $            122.69
     2                    Barry L Townsend                $    62,920.00 $          3,439.67 $          2,592.78




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                                                       Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                     of Claim            to Date          Payment
     3                    William T. Jarrell          $    109,000.00 $           5,958.74 $       4,491.63
     4                    William T. Jarrell          $    109,000.00 $           5,958.74 $       4,491.63
     5                    William T. Jarrell          $    109,000.00 $           5,958.74 $       4,491.63
     6                    William T. Jarrell          $     54,500.00 $           2,979.37 $       2,245.81
     7                    William T. Jarrell          $     54,500.00 $           2,979.37 $       2,245.81
     8                    William T. Jarrell          $    109,000.00 $           5,958.74 $       4,491.63
     9                    Hammond Family Trust        $    310,900.01 $          16,996.08 $      12,811.43
     10                   Gene E Collins Or           $     82,906.67 $           4,532.29 $       3,416.38
     12                   Wallace H. Jordan, Jr.      $    157,350.00 $           8,601.91 $       6,484.01
     13                   Wallace H. Jordan, Jr.      $     52,500.00 $           2,870.04 $       2,163.39
     14                   Samuel E Evans, Jr.         $     26,483.33 $           1,447.77 $       1,091.32
     15                   Samuel E Evans, Jr.         $     52,966.67 $           2,895.55 $       2,182.62
     16                   Samuel E Evans, Jr.         $    105,933.33 $           5,791.10 $       4,365.25
     17                   Samuel E Evans, Jr.         $     26,483.33 $           1,447.77 $       1,091.32
     18                   South State Bank            $    762,171.57 $          41,665.91 $      31,407.22
     19                   Martha A. Gardner           $     54,500.00 $           2,979.37 $       2,245.81
     20                   Martha A. Gardner           $     54,500.00 $           2,979.37 $       2,245.81
     21                   Martha A. Gardner           $     54,500.00 $           2,979.37 $       2,245.81
     22                   Dealer Financial, Inc.      $   1,160,504.38 $         63,441.72 $      47,821.53
                          Shelby J. Reaves Or Jeanie
     23                   Reaves Arrington           $     105,933.33 $           5,791.10 $       4,365.25
     24                   Ronald D. Jordan            $          0.00 $              0.00 $            0.00
     25                   Ronald D. Jordan            $    100,125.13 $           5,473.58 $       4,125.91
     26                   Thomas Hansell              $    109,000.00 $           5,958.74 $       4,491.63
     27                   Anderson Brothers Bank      $    702,245.48 $          38,389.91 $      28,937.81




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                                                      Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                    of Claim            to Date          Payment
                          American Credit
     28                   Acceptance, LLC            $   1,960,000.00 $        107,148.04 $      80,766.78
                          American Credit
     29                   Acceptance LLC             $          0.00 $              0.00 $              0.00
                          Estate Of Larry M Brice,
     30                   Deceased                   $    175,395.86 $           9,588.43 $       7,227.63
     31                   Gary E. Donica             $     26,483.33 $           1,447.77 $       1,091.32
     36                   C. Dathon Reynolds         $    315,400.00 $          17,242.09 $      12,996.86
     37                   C. Dathon Reynolds         $          0.00 $              0.00 $              0.00
     38                   Davohn D. Rhame            $    127,120.00 $           6,949.32 $       5,238.30
     40                   Lingle Family LP           $     52,666.66 $           2,879.15 $       2,170.26
     41                   Wallace H. Jordan, Jr      $          0.00 $              0.00 $              0.00
     42                   Wallace H Jordan Sr        $          0.00 $              0.00 $              0.00
     43                   Patricia B. Hoffmeyer      $     10,593.33 $            579.11 $            436.52
     44                   Scott Hoffmeyer            $     90,043.33 $           4,922.43 $       3,710.47
     45                   Louis Conrad Hoffmeyer     $    305,200.00 $          16,684.48 $      12,576.54
     46                   William W. Mccall          $    290,491.68 $          15,880.41 $      11,970.45
                          IRA Innovations LLC,
                          FBO Billy Dean
     47                   Richardson                 $     21,638.68 $           1,182.93 $           891.68
                          IRA Innovations LLC,
     48                   FBO Steve Matthews         $     32,720.21 $           1,788.73 $       1,348.32
                          IRA Innovations LLC,
     49                   FBO Cordie M Dozier        $     12,949.86 $            707.93 $            533.64
                          IRA Innovations LLC,
     50                   FBO Alice D Fowler         $     17,935.60 $            980.49 $            739.08
                          IRA Innovations LLC,
     51                   FBO Jacquelyn J Fisher     $     40,946.88 $           2,238.46 $       1,687.32
                          IRA Innovations LLC,
     52                   FBO Ronald D Jordan        $          0.00 $              0.00 $              0.00




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                                                       Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                     of Claim              to Date          Payment
                          IRA Innovations LLC,
     53                   FBO Sandra M Prosser       $        70,303.15 $           3,843.29 $         2,897.02
                          IRA Innovations LLC,
     54                   FBO William M Grady        $        52,966.67 $           2,895.56 $         2,182.60
     55                   Barry L. Townsend          $              0.00 $             0.00 $              0.00
     56                   Samuel E. Evans            $              0.00 $             0.00 $              0.00
                 Total to be paid to timely general unsecured creditors                $             335,130.90
                 Remaining Balance                                                     $              30,000.00




             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $396.13 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:

                                                       Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                     of Claim              to Date          Payment
                          SC Department Of
     32                   Employment & Workforce $               228.53 $              0.00 $              0.00




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                                                      Allowed Amount        Interim Payments Proposed
     Claim No.            Claimant                    of Claim              to Date          Payment
                          South Carolina Department
     39                   Of Revenue                $            167.60 $             0.00 $            0.00
                 Total to be paid to subordinated unsecured creditors                 $                 0.00
                 Remaining Balance                                                    $            30,000.00




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